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                       Exhibit 2
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Charted Claims
Non-Method Claim: 1
   US8788360                                Sony’s Xperia 1 (“The Accused Product”)
1. A system for    The accused product utilizes a system (e.g., NFC (Near Field Communication)) for
processing a       processing a wireless request (e.g., request to open the content of the NFC tag or
wireless request   activate certain functions on the device by tapping on the NFC Tag) over a network
over a network     based on a human-perceptible advertisement for advertising to consumers a product or
based on a         service (e.g., information about a product or service) offered by a vendor (e.g., a
human-             poster, on a billboard advertisement, or beside a product in a retail store), the
perceptible        advertisement (e.g., information about a product or service) attached with at least one
advertisement      radio frequency identification (RFID) tag (e.g., NFC tag), the at least one RFID tag (e.g.,
for advertising    NFC tag) being configured to transmit a wireless identification transmission signal (e.g.,
to consumers a     displays the content collected by scanning an NFC Tag) representing information
product or         pertaining to the product or service (e.g., information about a product or service)
service offered    offered by a vendor (e.g., a poster, on a billboard advertisement, or beside a product in
by a vendor, the   a retail store)
advertisement
attached with at   As shown below, Sony’s Xperia 1 discloses an NFC (Near Field Communication)
least one radio    connectivity feature wherein, upon device scanning a tag (e.g., a wireless request),
frequency          gives user more information about a product or service (e.g., advertisement for
identification     advertising to consumers a product or service), thereby activating certain functions on
(RFID) tag, the    the device. The tags provides detailed information about the products and services
at least one       provided on a poster, on a billboard advertisement, or beside a product in a retail store
RFID tag being     (e.g., product or service offered by a vendor).
configured to
transmit a
wireless
identification
transmission
signal
representing
information
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pertaining to the
product or
service offered
by a vendor
comprising:




                    https://helpguide.sony.net/mobile/xperia-1m3/v1/en/contents/TP1000467589.html




                    https://helpguide.sony.net/mobile/xperia-1m2/v1/en/contents/TP0003057702.html
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      https://helpguide.sony.net/mobile/xperia-1/v1/en-us/contents/nfc-(near-field-
      communication).html
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      https://helpguide.sony.net/mobile/xperia-1/v1/en-us/contents/nfc-(near-field-
      communication).html




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                  https://www.iso.org/standard/59643.html

mobile ordering   The accused product is a mobile ordering device (e.g., Sony’s Xperia 1) of a human
device of a       consumer who perceives the human-perceptible advertisement (e.g., information about
human             a product or service), the mobile ordering device (e.g., Sony’s Xperia 1) comprising a
consumer who      radio frequency identification reader (e.g., Sony’s Xperia 1’s NFC detection area (i.e.,
perceives the     NFC Tag Reader)) configured to transmit a signal (e.g., transmitting a continuous-wave
human-            (CW) RF signal during scanning of tags) to the at least one RFID tag (e.g., NFC tag)
perceptible       attached with the advertisement (e.g., information about a product or service) and to
advertisement,    receive in response (e.g., responds) from the at least one RFID tag (e.g., NFC tag) the
the mobile        wireless identification transmission signal (e.g., displays the content collected by
ordering device   scanning an NFC Tag) corresponding to the advertisement (e.g., information about a
comprising a      product or service) and representing information pertaining to the product or service
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radio frequency     (e.g., information about a product or service) offered by a vendor (e.g., a poster, on a
identification      billboard advertisement, or beside a product in a retail store), the mobile ordering
reader              device (e.g., Sony’s Xperia 1) further configured to accept input (e.g., user tapping the
configured to       content of the NFC tag) from a consumer, generate an electronic request (e.g., request
transmit a signal   to open the content of the NFC tag or activate certain functions on the device by
to the at least     tapping on the NFC Tag) with the received information from the wireless identification
one RFID tag        transmission signal (e.g., displays the content collected by scanning an NFC Tag) and
attached with       communicate the request (e.g., request to open the content of the NFC tag or activate
the                 certain functions on the device by tapping on it) to and receive a response (e.g., open
advertisement       the content of the NFC tag or activate certain functions on the device) from a
and to receive in   commerce data system (e.g., provider of the content of NFC Tag) across a network.
response from
the at least one    As shown below, Sony’s Xperia 1 (i.e. mobile ordering device) discloses an NFC (Near
RFID tag the        Field Communication) connectivity feature wherein, upon device scanning a tag (e.g., a
wireless            wireless request), gives user more information about a product or service (e.g.,
identification      advertisement for advertising to consumers a product or service). Upon placing the
transmission        Sony’s Xperia 1’s NFC detection area or N-Mark (i.e., mobile ordering device comprising
signal              a radio frequency identification reader) over an NFC Tag (i.e., RFID Tag), the device
corresponding to    scans (i.e., transmit a signal to the at least one RFID tag) the tag and displays the
the                 content (i.e., response from the at least one RFID tag) collected. Further by tapping
advertisement       (i.e., accept input from a consumer, generate an electronic request) the collected
and                 content, the device opens the content of the NFC tag or activate certain functions on
representing        the device (i.e., response from a commerce data system).
information
pertaining to the
product or
service offered
by the vendor,
the mobile
ordering device
further
configured to
accept input
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from a
consumer,
generate an
electronic
request with the
received
information from
the wireless
identification
transmission
signal and
communicate
the request to
and receive a
response from a
commerce data
system across a https://helpguide.sony.net/mobile/xperia-1m3/v1/en/contents/TP1000467589.html
network;
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       https://helpguide.sony.net/mobile/xperia-1m2/v1/en/contents/TP0003057702.html
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       https://helpguide.sony.net/mobile/xperia-1/v1/en-us/contents/nfc-(near-field-
       communication).html
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       https://helpguide.sony.net/mobile/xperia-1/v1/en-us/contents/nfc-(near-field-
       communication).html




       http://nearfieldcommunication.org/technology.html
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                  https://www.iso.org/standard/59643.html


the mobile        The accused product discloses the mobile ordering device (e.g., Sony’s Xperia 1) in
ordering device   communication with the commerce data system (e.g., provider of the content of NFC
in                Tag), the commerce data system (e.g., provider of the content of NFC Tag) for receiving
communication     and processing the request (e.g., request to open the content of the NFC tag or activate
with the          certain functions on the device by tapping on the NFC Tag) of the mobile ordering
commerce data     device (e.g., Sony’s Xperia 1) across the network (e.g., internet), and responding to the
system, the       request (e.g., request to open the content of the NFC tag or activate certain functions
commerce data     on the device by tapping on the NFC Tag) by sending information (e.g., open the
system for        content of the NFC tag or activate certain functions on the device) to the mobile
receiving and     ordering device (e.g., Sony’s Xperia 1) via the network, the information associated with
processing the    the wireless identification transmission signal (e.g., displays the content collected by
request of the    scanning an NFC Tag).
mobile ordering
device across     As shown below, Sony’s Xperia 1 (i.e. mobile ordering device) discloses an NFC (Near
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the network,       Field Communication) connectivity feature wherein, upon device scanning a tag (e.g., a
and responding     wireless request), gives user more information about a product or service (e.g.,
to the request     advertisement for advertising to consumers a product or service). Upon tapping (i.e.,
by sending         accept input from a consumer, generate an electronic request) the collected content,
information to     the device opens the content of the NFC tag or activate certain functions on the device
the mobile         (i.e., response from a commerce data system).
ordering device
via the network,
the information
associated with
the wireless
identification
transmission
signal.




                   https://helpguide.sony.net/mobile/xperia-1m3/v1/en/contents/TP1000467589.html
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       communication).html
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       communication).html
